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AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                               District of New Mexico

                  UNITED STATES OF AMERICA                                Judgment in a Criminal Case
                             V.                                           (For Revocation of Probation or Supervised Release)

                            Anselm Allen
                                                                          Case Number: 1:06CR01442-001JB
                                                                          USM Number: 32123-051
                                                                          Defense Attorney: Steve McCue, Appointed
THE DEFENDANT:

c    admitted guilt to violations of condition(s) Special of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation           Nature of Violation                                                                Violation Ended
Number
1                   Special - The defendant failed to refrain from the use and possession of       04/09/2010
                    alcohol and other forms of intoxicants. He failed to not frequent places where
                    alcohol is the primary item for sale.

The defendant is sentenced as provided in pages 1 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has not violated condition(s) and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

                                                                          August 18, 2010
Defendant's Soc. Sec. No.                                                 Date of Imposition of Judgment

05/26/1977                                                                /s/ James O. Browning
Defendant's Date of Birth                                                 Signature of Judge


                                                                          Honorable James O. Browning
200 Western Skies #104                                                    United States District Judge

Gallup NM 87301
Defendant's Residence Address                                             Name and Title of Judge


,                                                                         August 19, 2010
Defendant's Mailing Address                                               Date Signed

McKinley
County of Residence
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1A


Defendant: Anselm Allen
Case Number: 1:06CR01442-001JB


                                                       ADDITIONAL VIOLATIONS

Violation           Nature of Violation                                                          Violation Ended
Number
2                   Special - The defendant failed to refrain from the use and possession of       04/19/2010
                    alcohol and other forms of intoxicants. He failed to not frequent places where
                    alcohol is the primary item for sale.
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Sheet 2 Imprisonment                                                                                                  Judgment Page 3 of 3


Defendant: Anselm Allen
Case Number: 1:06CR01442-001JB


                                                                   IMPRISONMENT

The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 10 months.

Although advisory, the Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines
with other sentencing goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable
category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is
appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court
has considered the kind of sentence and range established by the Guidelines. The Court believes that a sentence of 10 months
reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence,
protects the public and effectively provides the Defendant with needed education or vocational training and medical care, and
otherwise fully reflects each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable.
The Court believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing
Reform Act.

d      The court makes these recommendations to the Bureau of Prisons:




c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant must surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant must surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Service Office.


                                                                     RETURN

I have executed this judgment by:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.



                                                                        UNITED STATES MARSHAL




                                                                        Deputy United States Marshal
